 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 Eastern District of Washington


 Case number (If known): ________________________ Chapter 11
                                                                                                                                        q Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1.   Debtor’s name
                                           Astria Health

2.   All other names debtor used
     in the last 8 years                   Sunnyside Healthcare
     Include any assumed names,            Regional Health
     trade names, and doing business       _____________________________________________________________________________________________________
     as names
                                           ________________________ _____________________________________________________________________________
                                           ___________________________________________________________________________________________________ __


3.   Debtor’s federal Employer
     Identification Number (EIN)           XX-XXXXXXX

4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business


                                           1806 Yakima Valley Hwy                                       900 W. Chestnut Ave.___________________
                                           Number        Street                                         Number      Street


                                           _____________________________________________                _______________________________________________
                                                                                                        P.O. Box


                                           Sunnyside, WA 98944-1261                                     Yakima, WA 98902______________________
                                           City                            State      ZIP Code          City                        State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business

                                           Yakima                                                       See attached list.__________________________
                                                                                                        Number      Street
                                           County

                                                                                                        _______________________________________________

                                                                                                        ____________________ __________________________
                                                                                                        City                      State      ZIP Code



                                           https://www.astria.health/
5.   Debtor’s website (URL)
                                           x Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
6.   Type of debtor                        q Partnership (excluding LLP)
                                           q Other. Specify: ______________ __________________________________________________


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Debtor          Astria Health                     Case number (if known) _____________________________


                                         A. Check one:
7.    Describe debtor’s business
                                         x Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         q Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         q Railroad (as defined in 11 U.S.C. § 101(44))
                                         q Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         q Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         q Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         q None of the above

                                         B. Check all that apply:

                                         x Tax-exempt entity (as described in 26 U.S.C. § 501)
                                         q Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                         q Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .

                                            6221
8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                     q Chapter 7
                                         q Chapter 9
                                         x Chapter 11. Check all that apply:
                                                       q Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                 insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                                 4/01/22 and every 3 years after that).
                                                          q       The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                 debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                 of operations, cash-flow statement, and federal income tax return or if all of these
                                                                 documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                          q      A plan is being filed with this petition.

                                                          q      Acceptances of the plan were solicited prepetition from one or more classes of
                                                                 creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             q    The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                 Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                 Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                 for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                          q      The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                 12b-2.
                                         q Chapter 12
9.    Were prior bankruptcy cases
      filed by or against the debtor     x No
      within the last 8 years?           q Yes.    District ______________________         When _______________ Case number ________________________
                                                                                                MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District ______________________         When _______________ Case number _______________________
                                                                                                MM / DD / YYYY

10.   Are any bankruptcy cases           q No
      pending or being filed by a
      business partner or an             x Yes.     Debtor   See attached list.                                   Relationship _______________________
      affiliate of the debtor?
                                                   District _____________________________________________ When                 __________________
      List all cases. If more than 1,                                                                                          MM / DD / YYYY
      attach a separate list.                      Case number, if known _______________________________


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Debtor        Astria Health                     Case number (if known)


11.   Why is the case filed in this    Check all that apply:
      district?
                                       x Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                       x A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12.   Does the debtor own or have      q No
      possession of any real           x Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                q   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard? _____________________________________________________________________

                                                q   It needs to be physically secured or protected from the weather.

                                                x   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                    attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                    assets or other options).

                                                x    Other   The debtor and its subsidiaries operate three hospitals and other
                                                health care facilities currently serving patients. Assets include perishable
                                                items such as drugs, food, and medical supplies with expiration dates.
                                                Where is the property? See attached list.
                                                Is the property insured?
                                                q No
                                                x Yes. Insurance agency HUB
                                                          Contact name     Jeff Barrom
                                                          Phone            (509) 837-3711


            Statistical and administrative information



13.   Debtor’s estimation of           Check one:
      available funds                  x Funds will be available for distribution to unsecured creditors.
                                       q After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                       x 1-49                            q 1,000-5,000                            q 25,001-50,000
14.   Estimated number of              q 50-99                           q 5,001-10,000                           q 50,001-100,000
      creditors                        q 100-199                         q 10,001-25,000                          q More than 100,000
                                       q 200-999

                                       q $0-$50,000                      q $1,000,001-$10 million                 q $500,000,001-$1 billion
15.   Estimated assets                 q $50,001-$100,000                q $10,000,001-$50 million                q $1,000,000,001-$10 billion
                                       q $100,001-$500,000               q $50,000,001-$100 million               q $10,000,000,001-$50 billion
                                       q $500,001-$1 million             x $100,000,001-$500 million              q More than $50 billion



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Debtor         Astria Health                       Case number (if known)      ________________________
                                           $0-$50,000                            $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities                $50,001-$100,000                      $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                           $100,001-$500,000                     $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                           $500,001-$1 million                 X $100,000,001-$500 million                More than $50 billion



             Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                            petition.
      debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                            correct.


                                        I declare under penalty of perjury that the foregoing is true and correct.

                                                          05/06/2019
                                           Executed on ________________
                                                       MM / DD / YYYY


                                            ____________________________________________                John Gallagher
                                           Signature of authorized representative of debtor             Printed name


                                           Title   President and Chief Executive Officer


18.   Signature of attorney
                                            /s/ James L. Day                                            Date         _________________
                                                                                                                     MM      / DD / YYYY
                                            _________________________________________
                                            Signature of attorney for debtor

                                            James L. Day
                                           Printed name

                                            Bush Kornfeld LLP
                                           Firm name

                                            601 Union Street, Suite 5000
                                           Number         Street

                                            Seattle, WA 98101
                                           City                                                              State            ZIP Code

                                            (206) 521-3858                                                   jday@bskd.com
                                           Contact phone                                                     Email address

                                            20474                                                            Washington State
                                           Bar number                                                        State




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